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                               Exhibit 3
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             Exhibit 3 Intentionally Omitted
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                               Exhibit 5
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  1                     **CONFIDENTIAL ** CONFIDENTIAL **
  2         UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF NEW JERSEY
  3         CIVIL ACTION NO.: 2:11-cv-07318-WHW-SCM
            -------------------------------------------x
  4         JUICE ENTERTAINMENT, LLC, THOMAS DORFMAN,
            and CHRIS BARRETT,
  5
  6                                   Plaintiffs,
  7                  -against-
  8
            LIVE NATION ENTERTAINMENT, INC.,
  9
 10                                   Defendant.
 11         -------------------------------------------x
 12                                          December 19, 2013
                                             9:34 a.m.
 13
 14
 15                        DEPOSITION of JASON MILLER,
 16         taken by Plaintiffs, held at the offices of
 17         Greenberg Traurig, 200 Park Avenue, New York,
 18         New York, before Eileen Mulvenna, CSR/RMR/CRR,
 19         Certified Shorthand Reporter, Registered Merit
 20         Reporter, Certified Realtime Reporter and Notary
 21         Public of the State of New York.
 22
 23
 24
 25

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  1                       Miller - Confidential
  2                  Q.       -- with Mr. Dorso, which was a few
  3         weeks before you met with my clients?
  4                  A.       Correct.
  5                  Q.       How do you think Mr. D'Esposito
  6         knew that there was a, quote-unquote,
  7         opportunity to do something at the State Fair?
  8                           MR. MARX:       Object to the form of
  9                  the question.
 10                           THE WITNESS:       I don't know.          I know
 11                  that Mr. D'Esposito and Mr. Dorso have a
 12                  relationship.
 13       BY MR. SIEGEL:
 14                  Q.       If you had known the first time he
 15         mentioned it to you that another group of people
 16         had a contract to produce those events, would
 17         that have deterred you from taking the meeting
 18         with Mr. Dorso?
 19                           MR. MARX:       Object to the form of
 20                  the question.
 21       BY MR. SIEGEL:
 22                  Q.       You can answer it.
 23                  A.       No.
 24                  Q.       Why not?
 25                  A.       I still would have wanted to

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                                                                    Page 70

  1                        Miller - Confidential
  2         explore if there was a partnership opportunity
  3         with an independent promoter.              I would have
  4         wanted to have met your clients and heard their
  5         philosophy.       And maybe there's an opportunity
  6         for us to do business together.               I would have
  7         wanted to explore that opportunity.
  8                   Q.      Is it your belief that there's
  9         always an opportunity to do business in a
 10         certain space even if somebody else already has
 11         a contract to do that just by entering into some
 12         partnership with Live Nation?
 13                   A.      Not always.
 14                   Q.      Why do you think that might have
 15         been available in this instance?
 16                   A.      This was a festival intended to be
 17         a large-scale event.         It was with promoters
 18         that -- no one that I generally or regularly
 19         conducted business with, had ever known or heard
 20         of.      Not that that mattered per se, but -- but
 21         that struck me as -- I know what -- I know what
 22         goes into a festival.         It takes more effort than
 23         two or three people.         And there may have been
 24         services I was able to provide given the
 25         independent nature of the clients -- how

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  1                       Miller - Confidential
  2         the money.
  3                  Q.       And that means production expenses,
  4         talent acquisition, all of those things?
  5                  A.       Yes.
  6                  Q.       Based on what you knew about it
  7         then and how they described it to you, did you
  8         view it an interesting prospect?               Is it
  9         something that you wanted to do?
 10                  A.       I viewed it as an interesting
 11         prospect, yes.
 12                  Q.       Was that primarily because of
 13         electronic dance music's popularity at the time?
 14                  A.       Yes.
 15                  Q.       Did you also think that the tie-in
 16         with the State Fair made it an attractive
 17         prospect, or did that not figure into your
 18         thinking?
 19                  A.       It made it interesting.            I hadn't
 20         attended the State Fair before, so I was really
 21         thinking about what the event might look like,
 22         what it could be more so than the accoutrements
 23         that come with a State Fair.             But certainly the
 24         idea of an experience where there was carnival
 25         rides and funnel cake and things -- to me, the

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  1                       Miller - Confidential
  2         prospect of the event could be more than just --
  3                  Q.       More than your average concert?
  4                  A.       More participatory than
  5         observatory, if that's a word.              More actively
  6         engaged, for lack of better words.
  7                  Q.       Do you recall telling my clients at
  8         that meeting that you had a long relationship
  9         with the New Jersey Sports & Exposition
 10         Authority?
 11                  A.       No.
 12                  Q.       Do you recall Mr. D'Esposito saying
 13         that?
 14                  A.       No.    I don't recall what
 15         Mr. D'Esposito said.
 16                  Q.       At all?
 17                  A.       No, really, I don't.
 18                  Q.       So he was emotional?
 19                  A.       Yes.
 20                  Q.       Was he angry?
 21                  A.       No.    He's a loud individual.
 22                  Q.       He what?
 23                  A.       He tends to be loud.             I don't
 24         necessarily equate that with anger.
 25                  Q.       What's the next contact you

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  1                       Miller - Confidential
  2         I was setting up for my events in New York.                      And
  3         I recognized that the way the events run in
  4         New Jersey may be different and what works in
  5         New York doesn't necessarily work in New Jersey.
  6         I just wanted him to be aware of how I was
  7         approaching New York.
  8                  Q.       He writes back to you five minutes
  9         later on that same day.            He says, "Is it Axwell
 10         they are holding, Tiesto is what Al recognized."
 11                           Do you know who the "Al" that he's
 12         referring to in that sentence is?
 13                  A.       No, I don't.
 14                           MR. MARX:       Object to the form of
 15                  the question.
 16       BY MR. SIEGEL:
 17                  Q.       You write back to him a few minutes
 18         later saying, "I'm doing Axwell at Roseland on
 19         the 23rd of April.        DiMatteo is my partner.                I
 20         would imagine they are holding Tiesto with Al.
 21         Paul Morris will sell him Tiesto all day long.
 22         John DiMatteo is deep in Tiesto's camp."
 23                           Who were you referring to when you
 24         said, "I would imagine they're holding Tiesto
 25         with Al"?

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  1                       Miller - Confidential
  2                  A.       I'm not sure.       I apologize.         I'm
  3         not sure.
  4                  Q.       Could it have been Al Dorso?
  5                  A.       I don't think so, but it could
  6         have -- sure.       It could have.
  7                  Q.       Do you know any other Als as you
  8         sit here today that you might have been
  9         referring to at that time?
 10                  A.       I mean --
 11                  Q.       You just don't know?
 12                  A.       I just don't know.
 13                  Q.       You say, "Paul Morris will sell him
 14         Tiesto all day long."
 15                           Paul Morris is Tiesto's agent at
 16         AM Only; is that correct?
 17                  A.       Yes.
 18                  Q.       What were you saying here, that
 19         Morris will do a deal with DiMatteo --
 20                  A.       Yes.
 21                  Q.       -- for Tiesto?
 22                  A.       Yes.
 23                  Q.       And that's because you think they
 24         have a deep relationship?           Is that what you mean
 25         when you say "He is deep in Tiesto's camp"?

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  1                       Miller - Confidential
  2                  A.       That was my thought at the time.
  3                  Q.       You say, "I would imagine they are
  4         holding Tiesto."
  5                           Who is the "they" that you are
  6         referring to?
  7                  A.       I don't know.       Possibly AM Only.            I
  8         don't know.
  9                           (Miller Exhibit 5, Bates No.
 10                  LN0001015, E-mail Chain, marked for
 11                  identification.)
 12                           (Witness peruses the exhibit.)
 13       BY MR. SIEGEL:
 14                  Q.       Have you had a chance to look at
 15         Exhibit No. 5?
 16                  A.       Yes, sir.
 17                  Q.       At the top, it appears to have a
 18         normal e-mail layout.         It appears to be an
 19         e-mail from you to John D'Esposito on February
 20         23rd, 2011.
 21                           Do you agree with that?
 22                  A.       Yes.
 23                  Q.       But underneath that, in the body of
 24         it, it looks to me like it's a series of
 25         exchanges between you and somebody named Steph

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  1                       Miller - Confidential
  2                  Q.       Wiederlight was in New York?
  3                  A.       Yes.
  4                  Q.       And Cara Lewis?
  5                  A.       Was in New York.
  6                  Q.       Now, this transcription is dated
  7         April 22, 2011.          Do you recall when you spoke to
  8         these people at William Morris?
  9                  A.       No, but it would have been sometime
 10         after the first meeting with your clients and
 11         before this meeting.
 12                  Q.       What was the -- I just want to make
 13         sure I understand who you spoke with.
 14                           Did you speak with Mr. Muller
 15         directly or an assistant?
 16                  A.       An assistant.
 17                  Q.       Do you know who that person was?
 18                  A.       No.     I don't recall.
 19                  Q.       Let me just take them one by one.
 20         Tell me what you recall about your conversation
 21         with Mr. Muller's assistant.             Did you place the
 22         call?
 23                  A.       Maybe.     Maybe meaning that I might
 24         have placed a call or it might have been a topic
 25         that came up on -- within another conversation.

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  1                          Miller - Confidential
  2                            Do you understand what I'm saying?
  3                  Q.        Yes.
  4                            Would that person have been in
  5         Los Angeles when you spoke with her or him?
  6                  A.        Yes.
  7                  Q.        Was it a her or a him?            I'm pretty
  8         sure it was either -- either of those two.
  9                  A.        I'm fairly sure it was a him.
 10                  Q.        Tell me what you recall about that
 11         conversation.
 12                  A.        During that first meeting with your
 13         client -- clients, I think that they had
 14         suggested at a certain point certain talent who
 15         they represented were confirmed to play the
 16         event.        And I was trying to see if they were
 17         making an accurate statement.
 18                  Q.        Do you remember what Mr. Muller's
 19         assistant told you?
 20                  A.        Yes.
 21                  Q.        What was that?
 22                  A.        I asked them whether or not The
 23         Prodigy were scheduled to be in New Jersey on or
 24         about the time of the festival, The Prodigy
 25         being a client -- an artist, sorry.                  And I was

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  1                       Miller - Confidential
  2         told no, that they had no plans to be in the
  3         United States at that time.
  4                  Q.       Did you ask whether or not my
  5         clients had made an offer, or did you simply ask
  6         whether they were going to be in New Jersey at
  7         that time?
  8                  A.       I just asked if they were in the
  9         general vicinity.
 10                  Q.       Now, is that the totality of your
 11         conversation with Mr. Muller's assistant?
 12                  A.       Yes.
 13                  Q.       Prodigy is the --
 14                  A.       Sole client.      Because he was -- he
 15         was the agent that represented The Prodigy day
 16         to day at that moment in time.              I don't believe
 17         he is today.
 18                  Q.       Tell me what you asked
 19         Mr. Wiederlight -- or spoke about with
 20         Mr. Wiederlight.
 21                  A.       I would have had the same
 22         conversation -- he would have been the -- he
 23         would have been the third person I spoke to.                     I
 24         would have spoken to Cara Lewis next or in --
 25         right about the same time about N.E.R.D.,

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  1                       Miller - Confidential
  2         another artist, and asked the same question,
  3         whether or not they were available or scheduled
  4         to appear -- I don't know if I used the word
  5         "available" -- whether or not they were
  6         scheduled to appear in the New York or New
  7         Jersey area on or about the time of this
  8         festival and if they were actively looking for
  9         work in my region at that time, and I was told
 10         no.
 11                           And Pete Wiederlight -- I may
 12         have -- I would have asked the same question
 13         about an artist named Booka Shade, B-O-O-K-A.
 14                           MR. MARX:       Shade spelled like
 15                  shade?
 16                           THE WITNESS:        (Witness nods head.)
 17       BY MR. SIEGEL:
 18                  Q.       Is it your testimony that the
 19         complete extent of your conversations with
 20         Mr. Wiederlight, Ms. Lewis and Mr. Muller's
 21         assistant was simply asking whether or not
 22         certain bands were scheduled to be in New York
 23         or New Jersey at that time?
 24                  A.       Yes, or available to appear.
 25                  Q.       Did you tell them why you were

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Speakers: Al Dorso, Al Dorso Jr. Chris Barrett, John Sandberg, Thomas

Dorfman, Alex Sveskia(M. on speakerphone)

Location: State Fair Event Management Headquarters 229 Main Street,
Belleville, NJ 07109




                       Meeting State Fair 2011 03 07



DORSO:     All right boys, what the hell are you doing?

DORFMAN:   Getting organized like you said, come prepared.

DORSO:     Good.   Did you guys get coffee?

DORFMAN:   Yeah, I had some.

DORSO:     That's no good for you.

DORFMAN:   How did it go with the sports event?

DORSO:     You can't really leave all kinds of shit just laying around.

DORFMAN:   An important investor, John Sandberg is with him, and he's

     going to sit in today.

DORSO:     What's his name?

BARRETT:   John Sandberg.    He's going t come a little bit later and he

     also has -- he's got some major contracts for us this morning,

     for three major headlining acts.

DORSO:     So he was just in the process of getting that?

BARRETT:   He's in the process of getting those printed and over here.

DORFMAN:   This first order of business here.        This is our original.

     I'm going to ask you to look at your copy.          Hey what's up John?
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     Yeah, there's an army training service here, next to us.              Yeah,

     right next door to that.     Actually walk straight, just walk

     straight.

DORSO:     The tunnel's in the back.     See assistant branch manager.

DORFMAN:   I was your senior assistant?       You've got to walk straight

     down.

BARRETT:   What kind of elements do you pick?        Who was that?

DORFMAN:   That's Vito (inaudible) company.       It can show funds up to

     two hundred.     They're huge since '67.

DORSO:     That's $467,000.

SANDBERG: John Sandberg.

DORSO:     How are you?    Nice to meet you.     This guy owed money to that

     guy um…

DORFMAN:   Jason Miller?

BARRETT:   The situation --

DORSO:     Did you talk to Jason?

BARRETT:   We went and we met with Jason.

DORSO:     Because I told him, I said don't owe any money on John D.?

     Do you know John D.?

DORFMAN:   Yeah, we met John D.

DORSO:     But I said guys, the best thing for you to do is go talk to

     them.     If you want to be involved, it's a way to be involved, go

     see them.

DORFMAN:   So with Jason Miller (inaudible) bottom of that was they do

     events with them right now, in north shore.          They do Live Nation
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     events with them.    They do (inaudible) Axwell (inaudible) there's

     two other ones.

BARRETT:   There's two other ones.

DORFMAN:   For the next two months.    April 23rd and when you told me

     that Live Nation has said those guys robbed the money, this,

     that, this, this, this, this, that, I confronted them (inaudible)

     the situation.    Obviously to protect ourselves (overlapping

     dialogue; inaudible) side partner (inaudible) they said no.              At

     first they said they (inaudible) Vito Bruno didn’t have any

     money.

DORSO:     Well the reason they said that I guess, is because well

     then, you see that's John D. talking.       The other guy (inaudible)

     he said we did a project, they lost $50,000 or lost $100,000, I

     was out $50,000 that they promised me because it didn't make any

     money (inaudible) another concert, where was it, Asbury park.

DORFMAN:   They made money there, where it comes down to would be

     basically just making up a lie about the money situation, because

     I listened to it on a three-way conversation.            That's almost the

     work that he does every day, he wouldn't say that.            I said well

     that's trying to get in on our real estate, our deal you know,

     that's what it is and I don't know why.        And he goes, the only

     concert was New Years Eve, we did a party, and there's a third

     party company called New Years Eve.com, that owes Live Nation and

     Area events money.
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     everything.     That's Jerry Blair.       He is a company that we are the

     primary -- our primary label present that as well.

DORSO:      Jethro Tull, where's he?

BARRETT:    I think he's dead.

DORSO:      Jethro Tull's dead?

DORFMAN:    I think so.

(overlapping dialogue).

DORFMAN:    And Area Event -- that's John Dimatteo

DORSO:      And what's John doing for you?

DORFMAN:    He’s doing talent booking.     He's partners with Vito.

DORSO:      I don't hear a lot of good stuff about John.

DORFMAN:    No?

DORSO:      No.   Do you know him?

BARRETT:    I've known John for about seven to ten years.            Did business

     with him on and off.

DORSO:      We've got two people in high places saying watch out for

     John.

DORFMAN:    That's not cool.

DORSO:      So I'm telling you, watch out for John.

DORFMAN:    All right.

DORSO:      All right?    Very well informed people.        I didn't question

     why.    OK, what else you got?

DORFMAN:    This company, this is primarily, that we're working with

     right now.     The company is co-produced –
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BARRETT:   No we don’t have Tiesto.    That's just an email

     correspondence.   Tiesto is on the offer sheet.

DORSO:     This guy thinks Tiesto is going to close down the show.

DORFMAN:   No, if you see the correspondence, he corrects it and says

     that was just left on the sheet accidentally.            That's that.

     There are also -- our partner is actually in

SANDBERG: Las Vegas.

DORFMAN:   Las Vegas with Tiesto.

DORSO:     You know how Live Nation works.      They're all over this

     event.   They're telling Tiesto, you play that event --

     (overlapping)

SANDBERG: We know that they're blocking talent.         We know that they’re

     doing something because (inaudible) four of the biggest artists

     in a week (inaudible) so I know (inaudible) you have money to

     show and you have proof of funds to show (inaudible).

BARRETT:   Live Nation is blocking talent (inaudible).           Live Nation is

     trying to interfere on all levels.

DORSO:     The deal is, if you can prove that, you can make more money

     in a lawsuit than you can in this venue.        I would be doing both.

     Of course, I don't know where you'd go from there, you know if

     you ever go anywhere in the business, because Live Nation is the

     800-pound gorilla (inaudible).

     (overlapping dialogue)
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DORSO:     So when I -- because here's the -- you know that the same

     thing is going on over at the sports authority.

DORFMAN:   Live Nation.

DORSO:     Live Nation’s badmouthing the whole event and you guys to

     the powers that be over there.      So they're telling me you know,

     protect your ass, which means protect our ass Al that's what

     they're saying.

DORFMAN:   I know.

DORSO:     So on the production end if I say these guys, they’ll know

     who they are.

     (overlapping dialogue)

DORFMAN:   Vito Bruno's one, he’s done Beatstock for 15 years.             There's

     production companies that we can bring in.          I can bring in ten

     different production companies at least.

(overlapping dialogue)

SANDBERG: I really had to go out and make phone calls.            You know I

     mean, that's not going to need Live Nation.

DORFMAN:   And production.    We feel comfortable.

DORSO:     Just make sure that we do it right, because you do

     understand that if we do it wrong.

DORFMAN:   Yes.

DORSO:     And they'll say, we're not going to have you guys, you can't

     do that anymore.

DORFMAN:   Yes, understood.    We're going to do our best.
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DORFMAN:   That's the one he’s interfering with is William Morris, he

     told us that, you know, he's interfering with our talent at

     William Morris.

DORSO:     But he said that that's his agency.       He says, we use that

     agency EXCLUSIVE (inaudible) nobody’s getting nothing.


DORFMAN:   But this is the thing.

SANDBERG: That's not true.

DORFMAN:   No, that's not true (inaudible) contract.

     (overlapping dialogue) what they did do is they (inaudible).

     We're working on seven different projects and working on the

     electronic dance at the same time, and we're working on four or

     five things already on the table.       So, one thing they did was

     they delayed the talent where no one can get it at the

     Meadowlands this year, because it ended up going to electric

     daisy carnival, which we could have the work done or we could

     work (inaudible).   So then that moved to L.A., so who's got it

     locked up?   It's a Sunday gig, they took this.          (inaudible) We

     will be able to stage a successful show (inaudible) Live Nation

     will not help us this year in bringing one more person to --

SANDBERG: They're not willing to put -- they're not --

DORFMAN:   Because you want in on this.      We worked towards the thing,

     you have to fund it.    Supposedly, they would fund it.          But this,

     the one partner sent an email out last night (inaudible) to Jason

     Miller.   And it was supposed to state just on the electronic

     dance agreement, that it would be a third, a third, a third but
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